       The following case in which the Court of Appeals issued a published opinion has been
appealed to the Supreme Court:

    1. Kelly Daniel Bass
       v. Commonwealth of Virginia
       Record No. 0769-18-2
       Opinion rendered by Judge Beales on
        July 9, 2019
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. James Bethea, s/k/a, etc.
    v. Commonwealth of Virginia
   Record No. 2014-16-4
    Opinion rendered by Chief Judge Decker
     on February 20, 2018
    Judgment of Court of Appeals affirmed by opinion rendered on August 28, 2019
    (180527)

2. Patrick Darnell Hill
   v. Commonwealth of Virginia
   Record No. 0482-17-1
   Opinion rendered by Judge O’Brien
     on April 24, 2018
   Judgment of Court of Appeals affirmed by opinion rendered on August 30, 2019
   (180681)
